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Case 1:03-cr-10085-.]DT Document 92 Filed 07/28/05 Page 1 of 6 Pagé’@:`;$
y
UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE

 

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"" 03-10085-002-T h‘h;%`

PAuL wli_LiAMs

A. Russel| Larson CJA
Defense Attorney

211 East Main Street
Jackson, TN 38301

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 ofthe lndictment on Apri| 27, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count

Title & Section MM!'£Q Concluded Numberjsj
21 U.S.C. § 841(a)(1); 18 Distribution of Cocaine Base; Aiding 07/30/2003 1
U.S.C. § 2 and Abetting

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Count(s) 2 dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 07/01/1977 Ju|y 22, 2005
Deft’s U.S. N|arshal No.: 19330-076

Defendant’s l\/lai|ing Address:
263 Huntersville-Denmark Road
Denmark, TN 38391

Q§/Vm)) \W

JAM ' o. Tooo
CH| UN|TED STATES D|STR|CT JUDGE
Thls document entered on the docket sheet in compliance

with Rule 55 and/or32(b) FRCrP on l \Qg l § 1 5 July &5 , 2005

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Case No: 1:030r10085 Defendant Name: Paul Willlams Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 168 Months as to Count 1 of the indictmentl

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES l\/lARSi-lAL
By:

 

Deputy U.S. Marshal

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Case No: 1:03cr10085 Defendant Name: Paul Williams Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years as to Count 1 of the indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ai| inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegaiiy sold, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation ofhcer to make such notifications and to conhrm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and/or treatment for
substance abuse as directed by the Probation thce.

2. The defendant shall cooperate with the United States Probation office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fuli before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Speciai Assessment shall be due immediately

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FlNE
No fine imposedl
REST|TUT|ON

No Restitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 1:03-CR-10085 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

A. Russeil Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 1 63

Jackson7 TN 3 8302--2 l 6

Honorable J ames Todd
US DISTRICT COURT

